WISCONSIN HYDRO-ELECTRIC CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Wisconsin Hydro-Electric Co. v. CommissionerDocket No. 9601.United States Board of Tax Appeals10 B.T.A. 933; 1928 BTA LEXIS 4003; February 21, 1928, Promulgated *4003  1.  Losses, claimed to have been sustained by reason of the scrapping of facilities, disallowed for lack of evidence of cost.  2.  Amounts paid an electric light and power company pursuant to contract to reimburse it for the cost of constructing rural extensions held not to be taxable income.  William A. Bradford, Esq., for the petitioner.  Shelby S. Faulkner, Esq., for the respondent.  PHILLIPS *933  The Commissioner determined deficiencies in income and profits taxes for 1920, 1921, and 1922, aggregating $5,763.61.  The petitioner instituted this proceeding to secure a redetermination thereof.  FINDINGS OF FACT.  The petitioner was incorporated under the laws of the State of Wisconsin in February, 1914, under the name of Apple River Milling Co., the name of which was subsequently changed to Wisconsin Hydro-Electric Co.  During the years 1920, 1921, and 1922, and prior thereto, the petitioner was a public utility engaged in the manufacture and distribution of electric light and power under the jurisdiction and control of the Railroad Commission of Wisconsin.  During the years 1920 and 1921 the petitioner at the request of, and under*4004  contracts with, certain prospective, future customers who resided in rural communities, constructed certain electric light and power lines connected with lines then owned by the petitioner for the purpose of furnishing light and power to such customers.  Under said contracts between the petitioner and said prospective customers the respective customers agreed to pay to the petitioner the amounts expended by the petitioner in constructing said respective lines and did pay to and reimburse the petitioner for the construction thereof.  Said contracts between the petitioner and said prospective customers provided that upon completion of said lines the same should be and become the property of the petitioner.  Pursuant to said contracts, upon the completion of said lines, said lines became the property of the petitioner.  Under said contracts the petitioner was required to, and did furnish light and power to said customers after the completion of said lines.  *934  After the completion of said respective lines the petitioner charged and collected from the customers supplied with light and power by means of said lines the regular rural rates established and approved by the*4005  Railroad Commission of Wisconsin.  During the years 1920 and 1921 said lines were carried on the books of the petitioner, being charged to "property accounts" and credited to "paid in surplus." On January 3, 1921, the Railroad Commission of Wisconsin prescribed that public electric utilities should set up an account known as "Customers' Line Extension Donations" to which should be credited all donations made by customers on construction work and the cost of all lines built by customers and donated to the utility, and further providing that this account should be debited with all rebates made to customers.  In determining a reasonable rate to be charged by such utilities, the orders of the Commission provided that no interest should be allowed the company on the investment because the investment was made by the consumers.  The petitioner expended for the construction of said lines the total sum of $15,082.48 during the years 1920 and 1921.  During the year 1920 there accrued and was paid to the petitioner by said prospective customers $11,675.78 on account of the construction of said lines and during the year 1921 there accured and was paid to the petitioner by said prospective*4006  customers $3,331.70 on account of the construction of said lines.  In computing taxable net income the respondent included the amounts so accrued and paid as income for the respective years 1920 and 1921.  Prior to 1919 the petitioner was operating and developing a hydroelectirc plant and was supplying Amery, Wis., with electric light and power.  In March, 1919, the petitioner purchased from the Wisconsin-Minnesota Light &amp; Power Co. a steam plant at Glenwood, a 7-mile 2,300-volt transmission line from Glenwood to Downing and Boyceville, and distribution lines at Glenwood, Downing and Boyceville.  In May, 1919, petitioner began the construction of a transmission line from Amery to Glenwood which was completed about December, 1919.  A transmission line about 1 mile long was constructed from Amery to Boyceville, and the 5-mile transmission line between Downing and Boyceville, which had been acquired from the Wisconsin-Minnesota Light &amp; Power Co., was discarded in 1921.  The petitioner operated and generated its current by waterpower, whereas the plant purchased was operated by steam.  It continued the operation of the steam plant at Glenwood until the latter part of 1919 or the*4007  early part of 1920.  After that date and until the latter part of 1920 or the early part of 1921 the plant at Glenwood was *935  continued intact for use in an emergency.  In the latter part of 1920 or the early part of 1921 the steam plant was scrapped, the generator, excitor, switchboard and other such electrical machinery being placed in storage.  At that time such machinery had a substantial value.  It has never been sold.  In computing the net taxable income the respondent refused to allow any deduction upon account of the abandonment of the transmission line from Downing to Boyceville, or on account of the scrapping of the steam plant.  In computing invested capital for the years 1920 and 1921 the Commissioner reduced the earned surplus existing at the beginning of the year by an amount equal to the income and profits taxes of the prior year prorated from the date when each quarterly installment thereof became due.  OPINION.  PHILLIPS: The facts with respect to the amounts paid petitioner to reimburse it for the extension of its lines were stipulated and our findings follow the stipulation.  Under prior decisions of the Board following *4008 , such amounts are not income.  ; ; . The action of the Commissioner in refusing to allow a loss on account of the scrapping of the power plant at Glenwood and the transmission line between Downing and Boyceville must be followed for several reasons.  It is the contention of the Commissioner that the price paid for the property purchased from the Wisconsin-Minnesota Light &amp; Power Co. was primarily paid for the franchise and local distribution lines of that company, that it was known at the time of purchase that the plant and the interurban transmission lines would be scrapped, and that consequently no part of the price paid is to be attributed to them.  At the hearing the petitioner introduced a witness who testified that before the purchase was consummated he had made for petitioner an appraisal of the physical property to be acquired.  This appraisal was based on replacement cost new at that time less an allowance*4009  for depreciation based upon the age of the property at that time.  Upon this basis he had arrived at a valuation of $22,000 for all of the property.  In this appraisal the steam plant was included at $2,500 and the 2,300-volt transmission line at $4,500.  This appraisal was furnished to the president of the petitioner.  The witness was not familiar with the negotiations leading up to the purchase.  There is nothing in the record which discloses the price paid by the petitioner either for all of the property purchased from the *936 Wisconsin-Minnesota Light &amp; Power Co. or the basis on which the purchase price is properly to be distributed betweent he various classes of assets acquired.  If we could assume, as petitioner appears to do, the $22,000 was paid for the assets purchased, it would still seem that the petitioner has not established the loss claimed.  It acquired more than the physical properties, for it acquired the goodwill and franchise of a going concern.  It knew that it would scrap certain of the physical assets almost immediately after purchase.  In such a case it seems illogical to assume that any substantial part of the purchase price should be attributed to*4010  the assets to be scrapped.  The Commissioner's position that any amount ostensibly paid for such assets was in fact paid for the purpose of acquiring a good-will or franchise which could not otherwise be acquired seems much more reasonable.  In the absence of any proof either of the amount paid for all of the assets, or of any proof which would permit the allocation of the total purchase price among the various assets acquired, the action of the respondent must be approved.  Moreover, with respect to the loss claimed upon the heating plant the testimony is so indefinite as to the year in which it was scrapped that it would not be possible to allocate it to either the year 1920 or 1921.  Furthermore, the testimony with respect to the salvage value of the property taken out of the heating plant and stored is not at all satisfactory.  The adjustment made by respondent of invested capital by reason of the taxes of a prior year is in accordance with section 1207 of the Revenue Act of 1926.  . Decision will be entered under Rule 50.